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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                BID PROTEST

NAVIENT SOLUTIONS, LLC, et al.,                  )
                                                 )
                  Plaintiffs,                    )
                                                 )
          v.                                     )
                                                 )      No. 18-1679C (consolidated)
THE UNITED STATES,                               )
                                                 )      Judge Thomas C. Wheeler
                  Defendant.                     )
                                                 )

                            DEFENDANT’S MOTION TO DISMISS

           Pursuant to Rule 12(b)(1) of the Rules of this Court (RCFC), defendant, the

    United States, respectfully requests that this Court dismiss the complaints in these

    consolidated protests, because the Department of Education Office of Federal Student

    Aid has canceled components C, D, E, and F of the NextGen solicitation and issued new

    component solicitations.1 As a result, this consolidated bid protest is moot. In support

    of this motion, we state the following.

                                STATEMENT OF FACTS

          On February 20, 2018, Federal Student Aid (FSA), an office within the

Department of Education, issued the Phase I NextGen Financial Services Environment

(NextGen) Solicitation. With the NextGen procurement, FSA sought to comprehensively

transform and modernize the way it engages with its customers as they apply for financial

aid, receive financial aid, and repay their student loans. The NextGen procurement was


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       The consolidated plaintiffs are: Navient Solutions, LLC (No. 18-1679); FMS
Investment Corp. (No. 18-1786); Higher Education Authority of the State of Missouri
(No. 18-1758); Continental Services Group, Inc. (No. 18-1813); Pennsylvania Higher
Education Assistance Authority (No. 18-1824); GC Services LP (No. 18-1852); and
Account Control Technology, Inc. (No. 18-1853).
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initially conducted as a two-phase procurement in accordance with the Procurement

Flexibility statute applicable to FSA as a performance based organization. See 20 U.S.C.

§ 1018a.

        The Phase I solicitation divided the contemplated work into nine Components.

The nine Components were:

   •    Component A: Enterprise-wide digital platform and related middleware
   •    Component B: Enterprise-wide contact center platform, customer relationship
        management (CRM), and related middleware
   •    Component C: Solution 3.0 (core processing, related middleware, and rules
        engine)
   •    Component D: Solution 2.0 (core processing, related middleware, and rules
        engine)
   •    Component E: Solution 3.0 business process operations
   •    Component F: Solution 2.0 business process operations
   •    Component G: Enterprise-wide data management platform
   •    Component H: Enterprise-wide identity and access management (IAM)
   •    Component I: Cybersecurity and data protection

Phase I Solicitation, p. 1 (AR311).

        FSA asked vendors to submit separate responses for every Component in which

they were interested. AR311. Only offerors selected to proceed to Phase II on a

component could submit Phase II offers on that component. AR340.

        Five of the nine Next Gen Components in Phase I were focused on the

development and implementation of information technology (IT) platforms, data

management or cyber-security solutions. That includes a new digital platform

(Component A), a new contact center and customer relationship management (CRM)

platform (Component B), a new integrated data management platform (Component G), a

new identity and access management system (Component H), and new cyber security and

data protection solutions (Component I). AR321-330.



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       The other four Components (C, D, E and F) were focused on the processing and

servicing of student loan borrower accounts. AR321-330. Two of those (Components C

and D) entailed providing the technology platforms and automated tools utilized in

servicing borrower accounts (“core processing, middleware and rules engines”).

Component D also includes providing transitional support services. Components E and F,

included customer engagement and outreach, contact center support, and loan processing

or “back office” activities needed to process and service borrower accounts. These

functions are referred to in the Solicitation as “business process operations.” Id.

       After the evaluations of Phase I submissions, FSA disclosed the vendors who

were eligible to participate in Phase II. See AR1311-1321. On October 31, 2018,

Navient Solutions, LLC (Navient) filed a bid protest in this Court alleging primarily that

FSA had improperly altered the scope of work under certain components as the

solicitation moved from Phase I to Phase II. See, e.g., Navient Compl. ¶¶ 8-10. Navient

alleges that these shifts in the work that would fall under certain components, and in

particular, those components dealing with business processing operations (D, E, and F),

prevented it from participating in certain component solicitations in Phase I that it would

have participated in had it known at the time the scope of work that would eventually

shift to those components in Phase II. Id.

       After Navient filed its complaint, the remaining consolidated plaintiffs filed

complaints that, with one exception, similarly alleged that FSA had improperly amended

the business processing operations components between Phases I and II. Pennsylvania

Higher Education Assistance Authority (PHEAA) alleges that FSA improperly rejected

its Phase II submission for untimeliness. PHEAA Compl. ¶ 4. The remaining



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consolidated plaintiffs fall into two groups. Like Navient, the Higher Education Loan

Authority of the State of Missouri (MOHELA) alleges that the component changes

between Phase I and Phase II prevented it from submitting a proposal on the work it was

most interested in performing, because that work had shifted to a different component in

phase II. See MOHELA Compl. ¶ 4. Unlike Navient, MOHELA, and PHEAA, plaintiffs

FMS Investment Corp. (FMS), Continental Services Group (ConServ), GC Services, and

Account Control Technology (ACT) did not participate in Phase I of the NextGen

solicitation. These plaintiffs allege that Phase I did not clearly state that the particular

business processing operations that they perform, primarily defaulted student loan

servicing, were among the services sought in the NextGen solicitation. See, e.g., ACT

Compl. ¶ 5 (“ACT did not submit a proposal under Phase I of the NextGen procurement

because it was led by the agency to believe that NextGen would not involve default debt

collection.”). They allege that the Phase II changes to components D, E, and F, in

particular, made it clear to them that default loan servicing was incorporated into the

NextGen solicitation. See, e.g., FMS Compl. ¶ 3. They allege that FSA’s decision to

alter the scope of work in these components between Phases I and II improperly denied

them the opportunity to compete for the work. See id.; see also ConServ Compl. ¶ 2, GC

Services Compl. ¶¶ 1-3, ACT Compl. ¶ 5.

        At a December 4, 2018 hearing, the Court expressed concern regarding the

apparent alteration to the work contemplated under components D, E, and F in the Phase

II solicitation. The Court asked FSA to consider whether it would take corrective action.

FSA agreed to do so and to notify the Court of its decision on or before December 14,

2018. ECF No. 46. On December 14, 2018, FSA notified the Court that it would take



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corrective action. ECF No. 66. Specifically, FSA stated that by January 15, 2019, it

would cancel components C, D, E, and F and reissue new component solicitations that

would be open to new offerors. Id. On January 15, 2019, FSA cancelled the component

C, D, E, and F solicitations and issued new solicitations (E and F are now combined in a

single component solicitation). See https://www.fbo.gov/index.php?s=

opportunity&mode=list.

                                       ARGUMENT

       This protest should be dismissed for lack of subject-matter jurisdiction because

FSA’s decision to cancel and reissue the challenged component solicitations renders the

consolidated plaintiffs’ protests moot. See Chapman Law Firm Co. v. Greenleaf Constr.

Co., 490 F.3d 934, 940 (Fed. Cir. 2007) (“When, during the course of litigation, it

develops that the relief sought has been granted or that the questions originally in

controversy between the parties are no longer at issue, the case should generally be

dismissed.”); see also Coastal Envtl. Grp., Inc. v. United States, 114 Fed. Cl. 124, 131

(2013) (“[T]he Court of Federal Claims has consistently found that the cancellation of a

procurement renders a protest of that procurement moot.”). This Court does not have

jurisdiction over moot cases. See CW Gov’t Travel, Inc. v. United States, 46 Fed. Cl.

554, 556 (2000) (citing North Carolina v. Rice, 404 U.S. 244, 246 (1971))

       “The mootness doctrine originates from the ‘case or controversy’ requirement of

Article III of the United States Constitution.” Northrop. Corp., Northrop Elecs. Sys. Div.

v. United States, 27 Fed. Cl. 795, 800 n. 4 (1993) (citing De Funis v. Odegaard, 416 U.S.

312, 316 (1974)). Although the jurisdiction of this Court, as an Article I court, is not

limited by the “case or controversy” requirement of Article III, this Court and other



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Article I courts have adopted general justiciability precepts on prudential grounds. See,

e.g., Schooling v. United States, 63 Fed. Cl. 204, 209 (2004) (dismissing case for lack of

subject-matter jurisdiction because claims asserted in the complaint were moot); CW

Gov’t Travel, 46 Fed. Cl. at 558 (citing Zevalkink v. Brown, 102 F.3d 1236, 1243 (Fed.

Cir. 1996)) (granting motion to dismiss for mootness); see also Anderson v. United

States, 344 F.3d 1343, 1350 n.1 (Fed. Cir. 2003) (“The Court of Federal Claims, though

an Article I court . . . applies the same standing requirements enforced by other federal

courts created under Article III.”). The Supreme Court has stated that “a case is moot

when the issues presented are no longer ‘live’ or the parties lack a legally cognizable

interest in the outcome.” County of Los Angeles v. Davis, 440 U.S. 625, 631 (1979)

(citing Powell v. McCormack, 395 U.S. 486, 496 (1969)).

       The newly issued component solicitations provide the consolidated plaintiffs with

the relief sought – an opportunity to compete for the work covered under the business

processing operations components. The new solicitations do not employ a phased

approach, but will proceed instead as FAR Part 15 procurements. In addition, the new

solicitations permit offerors to use non-exclusive teaming agreements, giving interested

parties the option to join a team, or multiple teams, as the provider of specific services of

interest to them. See https://www.fbo.gov/index.php?s=opportunity&mode=list.

       Navient and MOHELA now will be able to compete for the work that they allege

was moved improperly between components when the solicitation proceeded to Phase II.

PHEAA now has another opportunity to submit a timely proposal. FMS, ConServ, GC

Services, and ACT now have the opportunity to compete for the work that they allege

FSA improperly added to Phase II after Phase I had closed. All of the consolidated



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plaintiffs have received the relief that they could reasonably expect to receive from this

Court. Accordingly, the complaints should be dismissed.

                                      CONCLUSION

       Based on the foregoing, we respectfully request that the Court dismiss the

complaints for lack of subject-matter jurisdiction.

                                              Respectfully submitted,

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 January 16, 2019                             Attorneys for Defendant




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